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4                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
5                                       AT TACOMA

6    BRYCE ANTHONY JACKSON,
                                                            Case No. C20-5351 RJB-TLF
7                              Plaintiff,
           v.                                               ORDER
8
     SARAH MCCURRY,
9
                               Defendants.
10

11         The Court, having reviewed the Report and Recommendation of Magistrate

12   Theresa L. Fricke and the remaining record, does hereby find and ORDER:

13         (1)      The Court adopts the Report and Recommendation (Dkt. 8).

14         (2)      Plaintiff’s action is dismissed without prejudice for failure to state a claim

15                  upon which relief may be granted.

16         (3)      The Clerk is directed to send copies of this Order to Plaintiff.

17         Dated this 23rd day of September, 2020.

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                                            A
                                            ROBERT J. BRYAN
                                            United States District Judge
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     ORDER - 1
